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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                        Criminal Minutes


 Date: November 21, 2022                                              Judge: Hon. James Donato

 Court Reporter: Debra Pas
 Time: 6 Minutes
 Case No.       3:21-cr-00416-JD-1
 Case Name      USA v. Celin David Doblado-Canaca (Custody) Int.

 Attorney(s) for Government:      Ross Weingarten
 Attorney(s) for Defendant(s):    Dena Young
 Probation Officer:               Melissa Moy
 Interpreter:                     Conchita Lozano

 Deputy Clerk: Lisa Clark

                                         PROCEEDINGS

Sentencing Hearing -- Held.

                                     NOTES AND ORDERS

For the reasons discussed at the hearing, the Court declines to accept the Rule 11(c)(1)(C) plea
agreement.

The parties may submit a revised plea agreement, or defendant may withdraw the guilty plea. If
defendant withdraws the guilty plea, a trial date will be set. The parties are advised that any
revised plea agreement should address USSG § 1B1.2(a) and § 1B1.2 commentary, n.1.

A change of plea or withdrawal of plea and trial setting hearing is set for January 23, 2023, at
10:30 a.m. in San Francisco, Courtroom 11, 19th Floor.




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